 

Case: 1:16-cv-02865 Document #: 98 Filed: 10/02/17 Page 1 of 1 PagelD #:2017 ‘Oe

United States District Court for the Northern District of Illinois

Case Number: 16cv2865 Assigned/Issued By: DJ

Judge Name: Designated Magistrate Judge:

 

FEE INFORMATION

Amount Due: [ | $400.00 | | $46.00 [| $5.00
[| IFP |_| waves [_] Other

$505.00

 

 

 

 

 

Number of Service Copies Date:

 

(For Use by Fiscal Department Only)

 

 

 

 

 

Amount Paid: Receipt #:
Date Payment Rec’d: Fiscal Clerk:
ISSUANCES
Summons [ ] Alias Summons
Third Party Summons Lis Pendens

 

 

 

Non Wage Garnishment Summons Abstract of Judgment

 

 

 

SOO

 

Wage-Deduction Garnishment Summons

 

 

Citation to Discover Assets (Victim, Against and $ Amount)

[ ] Writ

 

 

 

 

(Type of Writ)

10/02/17 as to

(Date)

DICKLER KAHN SLOWIKOWSKI AND ZAVELL LTD.
AFFIDAVIT FILED.

1 Original and 1 copies on

 

 

 

G:\GDOCKET\OPERATIONS CLERK \Intake\FORMS 10/01/2014

 
